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                 EXHIBIT B
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                                                  Key: Green represents Plaintiffs’ filing; Purple represents Defendants’ filing

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                       Dkt.                                                                                                         Parties’ Shorthand Positions
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                       No.
   I.      Disputes Related to Depositions
                                                                                                              Plaintiffs’ Position: News Plaintiffs seek an order confirming that
                                                                                                              OpenAI President Greg Brockman is not subject to the “apex” doctrine
                                                                                                              and therefore must sit for a standard coordinated deposition in these
                                                                                                              cases.

                                                                                                              Documents produced by OpenAI prove that Mr. Brockman is “a far cry
                                                                                                              from the prototypical apex witness, who sits removed from the key facts
                                                                                                              of the dispute.” Oakley v. MSG Networks, Inc., 2024 WL 4134903, at *3
                                                                                                              (S.D.N.Y. Sept. 10, 2024). For example, Mr. Brockman personally led
                                                                                                              OpenAI’s efforts to obtain NYT content and to study how OpenAI’s
                                                                                                              products compete with news companies. Dkt. 500-6; Dkt. 500-12. At
                                                                                                              deposition, another OpenAI employee confirmed Mr. Brockman’s active
                                                                                                              involvement in relevant issues. Dkt. 500-5 (testimony from OpenAI
                                OpenAI’s                                                   The dispute is     employee Shantanu Jain).
                                designation of                                             fully briefed
                                Greg Brockman                                              and the Court      This dispute is ripe because all plaintiffs have requested Mr. Brockman’s
            March
Dkt. 500               506      as an “apex”        News Plaintiffs         OpenAI                            deposition and because OpenAI has taken the position that Mr. Brockman
           31, 2025                                                                        has not yet
                                witness and                                                                   should sit for less time than other OpenAI witnesses under the “apex”
                                limitations on                                             heard
                                                                                           argument.          doctrine. Plaintiffs hope to move forward with his deposition promptly
                                deposition time                                                               once the parties finalize their deposition protocol, and therefore
                                                                                                              respectfully seek the Court’s guidance on this dispute so the parties can
                                                                                                              be ready to proceed with his deposition once the protocol is finalized.

                                                                                                              OpenAI’s Position: This issue is premature for resolution and should
                                                                                                              be addressed in the parties’ renewed discussions on a deposition protocol.
                                                                                                              There is no legitimate reason why Plaintiffs need Greg Brockman, co-
                                                                                                              founder and current President of OpenAI, to sit for twelve hours of
                                                                                                              deposition over two days. Mr. Brockman is an apex witness whose
                                                                                                              deposition is “disfavored” and given “special scrutiny” in this circuit.
                                                                                                              This is especially true where, as here, Plaintiffs seek information that is
                                                                                                              readily available through other means. For example, many of the issues
                                                                                                              Plaintiffs cite can be explored with other OpenAI fact witnesses or
                                                                                                              30(b)(6) designees—Mr. Brockman has not been designated—including
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                                                                                                       OpenAI’s relationship with Microsoft and whether OpenAI’s products
                                                                                                       compete with products from news companies like The Times.

                                                                                                       OpenAI looks forward to continuing to meet and confer with Plaintiffs to
                                                                                                       reach agreement on a deposition protocol. Plaintiffs misstate the
                                                                                                       confidential discussions among the parties in connection with prior
                                                                                                       settlement conferences facilitated by this Court. No agreement on
                                                                                                       deposition coordination was reached, and OpenAI never agreed to
                                                                                                       present Mr. Brockman or any apex witness for 12 hours.


   II.     Disputes Related to Custodial Documents
                                                                                      OpenAI had       OpenAI’s position: OpenAI seeks an order compelling the Times to add
                                                                                      previously       David Rubin, Michael Greenspon, and Sam Dolnick as custodians
                                                                                      submitted        (renewing its previous motions, Dkt. 316, 393). At two prior discovery
                                                                                      letter briefs    conferences, the Times has represented to OpenAI and the Court that its
                                                                                      regarding The    forthcoming productions from other custodians would render productions
                                                                                      Times’s ESI      from Messrs. Rubin, Greenspon, and Dolnick duplicative.
                                                                                      custodians in
                                                                                      November         These assurances have proven false. A review of the Times’s productions
                                                                                      2024 and         to date shows that the overlap between its existing custodians and the
                                                                                      January 2025.    three proposed by OpenAI is small. The Times has represented that its
 497 -                                                                                ECF 316, 330     production is near complete. However, the 39,329 documents produced
 Public                        OpenAI’s                                               (briefing for    so far for the existing custodians that the Times claims cover the same
                               request that The                      New York         December         ground has captured only 945 emails that involve the proposed custodians
           3/31/25   509                               OpenAI
                               Times add three                        Times           discovery        in any way—less than 2.5% of their production. It is clear from that figure
  499 -                        ESI custodians                                         conference);
 Sealed                                                                                                alone that the proposed custodians possess nonduplicative documents.
                                                                                      ECF 393, 408     The Times argues that the “limited” number of documents produced from
                                                                                      (briefing for    the proposed custodians indicates their documents are nonresponsive.
                                                                                      January          But tellingly, The Times has refused to even provide search term hit
                                                                                      discovery        counts for these custodians in support of that point. And it would not be
                                                                                      conference).     burdensome for the Times to provide those counts because it has testified
                                                                                      The Court        that it uses Google Vault to manage its custodial documents, which
                                                                                      denied as        makes it easy to run hit counts. Moreover, the Times’s productions show
                                                                                      premature        that each of these three individuals possesses uniquely relevant
                                                                                      both motions     documents that have not been produced. For example, Rubin worked on
                                                                                      (ECF 365,        presentations to upper management that brand risk stemming from
                                                                                      441).            GenAI. See Dkt. 499 at 2 (citing NYT_00706693). No current custodian

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                                                                                      properly captures the relevant scope of traditional licensing work
                                                                                      performed by Greenspon. The Times reads Dkt. 352 much too broadly;
                                                                                      it does not relieve them of their burden of producing documents regarding
                                                                                      their allegations of market harm in traditional licensing markets. See id.
                                                                                      at 2. And Dolnick oversaw GenerativeAI across the company across a
                                                                                      period of time that neither replacement custodians Hardiman or Seward
                                                                                      adequately cover. Id. at 3.

                                                                                      The Times’s position: The three custodians OpenAI requests—on top of
                                                                                      the 22 custodians already designated in this case—are no more
                                                                                      appropriate now than they were in January. OpenAI repeatedly points to
                                                                                      the limited number of documents from these specific individuals in The
                                                                                      Times’s existing productions as somehow proving that they have
                                                                                      “uniquely relevant documents,” rather than accepting the far more
                                                                                      plausible explanation that these individuals do not appear on more of the
                                                                                      documents from The Times’s 22 custodians because they are not the
                                                                                      individuals most likely to be part of responsive exchanges.

                                                                                      More specifically, David Rubin’s high-level role in overseeing brand
                                                                                      strategy, subscriptions, advertising, licensing, books, film, television,
                                                                                      commerce, and live events is too far attenuated to yield relevant
                                                                                      discovery on the specific brand and reputation issues in this case. And
                                                                                      OpenAI’s claim that the fact that a presentation on which Mr. Rubin
                                                                                      comments has not yet been produced shows “it was in neither Frumin nor
                                                                                      Han’s files” is incorrect. Dkt. 499 at 2. The cited presentation was
                                                                                      undergoing privilege review, and has now been produced. With respect
                                                                                      to Michael Greenspon, The Times has already designated four custodians
                                                                                      with knowledge about licensing negotiations and the licensing market. It
                                                                                      has also agreed to produce documents sufficient to show the key terms of
                                                                                      relevant licenses (Gen AI and non-AI) from January 1, 2018, to the
                                                                                      present. And, the Court has ruled the remainder of OpenAI’s request to
                                                                                      be irrelevant. See Dkt. 352. Finally, with respect to Sam Dolnick, The
                                                                                      Times has already designated five custodians specifically related to Gen
                                                                                      AI: Zach Seward (the head of the AI Initiatives program), Sam Felix and
                                                                                      Rebecca Grossman Cohen (the leads for Gen AI licensing), Alex
                                                                                      Hardiman (the lead for AI products), and Barrett Sheridan (the Vice
                                                                                      President for Strategy and Operations). OpenAI has not demonstrated
                                                                                      why these custodians are insufficient.

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 494 –     3/31/25   510    Date range for       OpenAI        New York         OpenAI raised      OpenAI’s position: OpenAI seeks an order compelling The Times to
 Public                     Google                              Times           the issue of       expand the date range for its Google Workspace and Slack collection for
                            Workspaces and                                      The Times’s        six key Times custodians back to 2018, when The Times alleges the first
                            Slack for six                                       narrow             acts of infringement occurred. These six custodians are likely to have pre-
  495 -                                                                                            2022 documents relevant to at least two important issues. First, the
                            Times custodians                                    custodial date
 Sealed                                                                                            custodians are likely to have relevant information regarding when The
                                                                                ranges in
                                                                                connection         Times became aware that OpenAI had used a filtered version of Common
                                                                                with the           Crawl (which included Times articles) to train its GPT-3 model, which
                                                                                October 30,        OpenAI disclosed no later than July 22, 2020. This information is critical
                                                                                2024 and           to OpenAI’s statute of limitations defense, which Judge Stein recently
                                                                                January 22,        ruled was subject to disputed questions of fact. Second, the custodians are
                                                                                2025               likely to have relevant information regarding the alleged impact of LLMs
                                                                                discovery          on The Times’s business model. The Times cannot claim that documents
                                                                                conferences.       about this topic do not exist in this time period if it has not collected or
                                                                                The Court          performed a full search for them, and its own reporting shows that The
                                                                                ordered the        Times was evaluating GPT-3’s writing capabilities and the potential
                                                                                parties to         implications for The Times’s journalists by at least July 2020. The Times
                                                                                further meet-      has failed to substantiate its claims that this limited additional collection
                                                                                and-confer.        would be unduly burdensome. Indeed, those claims run headlong into the
                                                                                OpenAI             testimony of its custodial 30(b)(6) designee, who testified in deposition
                                                                                diligently         that The Times uses an industry standard collection tool—Google Vault—
                                                                                pursued meet-      to collect these materials from Google Workspaces (email and Google
                                                                                and-confer,        Drive) used by Times employees. Contrary to The Times’ assertions,
                                                                                but The Times      Vault can be used to perform more complex, boolean searches. See
                                                                                has not            https://support.google.com/vault/answer/2474474. Although The Times
                                                                                changed its        has alluded to running a search "across the relevant data" for such
                                                                                position.          documents, it has refused to specify the parameters of that search. The
                                                                                OpenAI and         parties have already negotiated search terms; the Times does not explain
                                                                                The Times          why it does not simply run those preexisting terms against the identified
                                                                                have now filed     custodians’ data for the proposed date range.
                                                                                additional
                                                                                letter briefs on   The Times’s position: OpenAI’s request disregards the parties’ agreed
                                                                                which the          upon search protocol. In July 2024, the parties negotiated date ranges for
                                                                                Court has not      collection and The Times represented that it would collect documents
                                                                                yet heard          from its custodians beginning from January 1, 2022 (ChatGPT was
                                                                                argument.          publicly released in November 2022). Defendants did not object to this
                                                                                                   proposal. Subsequently, months later, OpenAI demanded that The Times
                                                                                                   go back and re-collect documents from five custodians for an expanded
                                                                                                   date range, and The Times did so. OpenAI’s yet further demand that The
                                                                                                   Times once again conduct a collection of an additional four years for six
                                                                            5
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                                                                                                    of its most senior custodians’ documents and Slack messages is
                                                                                                    unjustified.

                                                                                                    In any event, OpenAI’s request to extend collection four years prior to
                                                                                                    the public release of ChatGPT makes no sense. Specifically, with respect
                                                                                                    to evidence of impact on The Times, OpenAI has documents relevant to
                                                                                                    its misconduct from well before 2022, when it used millions of The
                                                                                                    Times’s works to develop its products. However, because much of this
                                                                                                    unlawful activity came before the public release of OpenAI’s GPT
                                                                                                    product in 2022, The Times is unlikely to have custodial documents
                                                                                                    relevant to impact from this earlier period. Indeed, in an effort to resolve
                                                                                                    this issue, The Times ran a broad search across the relevant data back to
                                                                                                    2018 for Google Mail messages relating to ChatGPT and OpenAI. None
                                                                                                    of the documents were responsive, including for OpenAI’s statute of
                                                                                                    limitations defense or to the impact of its LLM products on The Times.
                                                                                                    Specifically, none of the documents discussed “when The Times became
                                                                                                    aware that OpenAI had used” Times articles “to train its GPT-3 model”
                                                                                                    or the impact of ChatGPT on The Times’s business model. Accordingly,
                                                                                                    the Court should deny OpenAI’s request.
                                                                                                    OpenAI’s position: OpenAI seeks an order compelling CIR to add as
                                                                                                    custodians Robert Wise, Marla Jones-Newman, Emily Harris, Ruth
                                                                                                    Murai, and CIR editors possessing documents relating to use of third-
                                                                                                    party works. CIR’s three current custodians are insufficient to cover the
                                                                                                    over 80 RFPs for which it has agreed to produce responsive documents.
                                                                                                    In fact, CIR’s CEO (and 30(b)(6) custodial deposition witness) admitted
                                                                                OpenAI and          during her deposition that these proposed custodians possess “relevant
  250 -                                                                         CIR have            and noncumulative” documents that are not otherwise in the possession
 Sealed                                                                         submitted           of CIR’s current custodians. Coventry Cap. US LLC v. EEA Life
                      253
                              Additional CIR                                    letter briefs,      Settlements, Inc., No. 17-cv-7417, 2021 WL 961750, at *2 (S.D.N.Y.
           4/1/25    (filed                      OpenAI           CIR                               Mar. 15, 2021); see Dkt. 250 at 2–3. These “relevant and noncumulative”
                              ESI Custodians                                    on which the
 251 -              4/3/25)                                                     Court has not       documents relate to CIR’s use of copyright management information,
 Public                                                                         yet heard           exclusion protocols, employment agreements, use of generative AI and
                                                                                argument.           third-party works, and financial analyses—all of which are central to the
                                                                                                    claims and defenses in this litigation. Id.

                                                                                                    CIR cannot justify its unwillingness to add the proposed custodians. It
                                                                                                    has not articulated any specific burden it would allegedly suffer from the
                                                                                                    inclusion of additional custodians, and the size of its organization, alone,
                                                                                                    is not a sufficient basis for refusing to include custodians possessing
                                                                            6
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                                                                                                          “relevant and noncumulative evidence.” Coventry Cap., 2021 WL
                                                                                                          961750, at *2. Likewise, the fact that CIR has named certain purported
                                                                                                          “decision-makers” as custodians does not excuse it from adding
                                                                                                          individuals for which CIR’s CEO testified have responsive,
                                                                                                          noncumulative documents. Lastly, CIR’s demand that OpenAI first
                                                                                                          review its still ongoing productions before seeking additional custodians
                                                                                                          amounts to nothing more than a delay tactic that CIR has employed
                                                                                                          throughout this litigation, including by only recently providing the bulk
                                                                                                          of its document production (with a third of its total document production
                                                                                                          provided in the last two weeks) and repeatedly failing to comply with the
                                                                                                          ESI order in responding to OpenAI’s search term and custodian
                                                                                                          proposals. See Dkt. 251-1 at 1–2, 6; Dkt. 250-1 at 14. OpenAI has already
                                                                                                          been prejudiced by CIR’s delays and cannot afford to wait any longer.

                                                                                                          CIR’s Position: The 5 individuals that OpenAI moves for CIR to add as
                                                                                                          document custodians are not necessary, useful, or appropriate in this case.
                                                                                                          Indeed, CIR has already agreed to manually collect the majority of the
                                                                                                          discovery OpenAI seeks from these additional individuals (e.g., CIR’s
                                                                                                          use of copyright management information, exclusion protocols,
                                                                                                          employment agreements, and use of generative AI and third-party
                                                                                                          works). To the extent CIR’s manual collection does not sufficiently
                                                                                                          capture documents responsive to OpenAI’s discovery requests, such
                                                                                                          additional materials are in the possession of CIR’s existing custodians –
                                                                                                          its CEO, CFO, and VP of Media Sales/Business Development. CIR’s
                                                                                                          30(b)(6) custodial witness testified that these custodians are the key
                                                                                                          decisionmakers at CIR regarding any issues relevant to this litigation and
                                                                                                          are involved in all policy decisions that could have an impact on the
                                                                                                          strength of CIR’s claims or OpenAI’s defenses. OpenAI’s allegations to
                                                                                                          the contrary do not support compelling additional custodians. It would be
                                                                                                          unduly burdensome, not proportional to the needs of the case, and (at
                                                                                                          best) duplicative to add the custodians identified in OpenAI’s motion.
   III.    Disputes Related to Plaintiffs’ Requests for Inspection
  379      1/13/25                                                                        The Court       Plaintiffs’ Position: OpenAI sent a letter to Plaintiffs on March 31, 2025:
                                                                                         heard            (1) admitting that OpenAI has destroyed an unacceptably large number of
                        420
                                 OpenAI’s Log                                            argument at      conversations (i.e., prompt and output data) for its ChatGPT Free, Pro, and
  483      3/25/25                                    News Plaintiffs    OpenAI                           Plus products since the December 27, 2023, filing of The Times’s original
                                 Output Data                                             the January
                        491                                                              22, 2025         complaint, and (2) refusing to suspend its data destruction policies or
  545      5/12/25                                                                       conference,      implement a solution to preserve only relevant output log data. On April

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                                                                         denied             11, 2025, OpenAI produced 3 terabytes of information about the output
  560      5/16/25                                                       Plaintiffs’        log data it has preserved for ChatGPT Free, Pro, and Plus. After
                                                                         premotion          comparing the fraction of destroyed output log data to retained output log
                                                                         Letter (Dkt.       data, News Plaintiffs filed a supplemental letter regarding OpenAI’s
                                                                         379), and          destruction of output log data on May 7, 2025, renewing their request for
                                                                         ordered the        an order directing OpenAI to preserve all output log data on a going
                                                                         Parties to meet    forward basis. OpenAI further appears to have deleted all but the past 30
                                                                         and confer.        days’ worth of output log data for its API Platform and ChatGPT
                                                                         Dkt. 441.          Enterprise products. See Enterprise privacy at OpenAI, OPENAI (Oct. 31,
                                                                         Plaintiffs filed   2024), https://openai.com/enterprise-privacy (“[a]fter 30 days, API inputs
                                                                         a separate         and outputs are removed from our systems”).
                                                                         premotion
                                                                         letter             News Plaintiffs are not seeking personally identifying information and are
                                                                         on March 25,       committed to working with OpenAI and the Court to preserve the privacy
                                                                         2025 (Dkt.         of OpenAI’s end users. But OpenAI cannot represent that regurgitations
                                                                         483), to which     and output based intellectual property violations are exceedingly rare,
                                                                         OpenAI             while at the same time depriving News Plaintiffs of the ability to
                                                                         responded at       investigate “real world” instances of ChatGPT users circumventing
                                                                         Dkt. 491.          paywalls or generating AI pink slime journalism—users who are far more
                                                                         Plaintiffs filed   likely to instruct OpenAI to destroy their conversation data to cover their
                                                                         a                  tracks. On May 13, 2025, this Court issued an interim preservation order
                                                                         supplemental       directing OpenAI to preserve and segregate all output log data that would
                                                                         letter on May      otherwise be deleted on a going forward basis until further order of the
                                                                         12, 2025 (Dkt.     Court. News Plaintiffs submitted supplemental briefing on May 16 asking
                                                                         545) and on        this Court to: (a) keep in place its interim preservation order; (b) order
                                                                         May 13, 2025       OpenAI to promptly provide a declaration and relevant documents, and
                                                                         the Court          make available for deposition one or more knowledgeable 30(b)(6)
                                                                         ordered            witnesses, on the following topics: (1) the full scope of destroyed output
                                                                         supplemental       log data for all of its products at issue; (2) any efforts by OpenAI to
                                                                         briefing from      ascertain whether News Plaintiffs’ intellectual property was present in, or
                                                                         the parties.       was the subject of a request by a user, in the destroyed output data; (3) any
                                                                         Dkt. 550. On       alternative sources of relevant information OpenAI has regarding the
                                                                         May 13, 2025,      destroyed output log data; (4) whether the destroyed output log data
                                                                         the Court also     containing News Plaintiffs’ content can be retrieved; and (5) an
                                                                         ordered            explanation for certain data contained in OpenAI’s March 31 letter, and
                                                                         OpenAI to          (c) order OpenAI to perform a search over the full extant output log data
                                                                         preserve and       for News Plaintiffs’ content.
                                                                         segregate all
                                                                         output log data
                                                                         that would
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                                                                       otherwise be       OpenAI’s Position: OpenAI is strongly committed to the privacy of its
                                                                       deleted. Dkt.      users, and keeping secure its users’ information. However, The New
                                                                       551. OpenAI        York Times, the Chicago Tribune, and other news plaintiffs are seeking
                                                                       filed a motion     to undermine these privacy protections with a sweeping preservation
                                                                       requesting         demand and a request for an invasive search through those private user
                                                                       reconsideratio     conversations. While on the one hand telling their readers that “America
                                                                       n of the order     needs strong principles to protect online identity and privacy,” The
                                                                       directing it to    Chicago Tribune Editorial Board, Editorial: When lawyers apply a law
                                                                       preserve           aimed at VHS rentals to the streaming world of today, Chicago Trib.
                                                                       output logs        (Apr. 7, 2025), the same newspapers are urging this Court to prioritize
                                                                       (Dkt. 558) and     Plaintiffs’ wholly speculative conjecture over the privacy of the millions
                                                                       this Court         of people who rely on OpenAI to protect their most private and personal
                                                                       denied the         requests, thoughts, and concerns. To be clear, OpenAI has not
                                                                       motion             “destroyed” any conversations. The conversations at issue are those that
                                                                       without            users have chosen to delete. ChatGPT users have a right to privacy, which
                                                                       prejudice to       includes the right to delete their conversations about their sensitive
                                                                       renewal (Dkt.      information, such as regarding their personal lives, business information,
                                                                       559).              or a relative’s medical condition. These are very real and important
                                                                       Plaintiffs filed   concerns, especially for these non-parties to the litigation. See, e.g., ECF
                                                                       supplemental       49 at 1 (motion to intervene from non-party seeking to object to
                                                                       briefing on        preservation order). The New York Times and other news plaintiffs want
                                                                       May 16, 2025       to disregard these basic and long-standing privacy norms, viewing their
                                                                       (Dkt. 560),        own interests in this case as more important than those of millions of
                                                                       and OpenAI’s       individuals worldwide. And they are doing so without a single shred of
                                                                       response is        evidence–or even an allegation–that these users are somehow infringing
                                                                       due by May         Plaintiffs’ works. Plaintiffs’ contention that conversations that users
                                                                       23, 2025.          delete are more likely to be relevant to their hypothetical claims is based
                                                                                          on nothing more than their own ipse dixit. That is far from sufficient to
                                                                                          impose the unprecedented retention and search requirements that
                                                                                          Plaintiffs urge. Plaintiffs’ position seems to be that they are entitled to
                                                                                          wholesale retention and searching at the expense of OpenAI users’
                                                                                          privacy so long as they can hypothesize a theory of supposed relevance,
                                                                                          however speculative, unalleged, or remote. That is not how the law
                                                                                          works.

                                                                                          OpenAI fundamentally and strenuously opposes Plaintiffs’ demands. As
                                                                                          OpenAI’s filing on Friday will explain in more detail, although OpenAI
                                                                                          has begun to take the steps necessary to comply with the preservation
                                                                                          order (e.g., taking steps to retain conversation data for the millions of
                                                                   9
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                                                                                                       ChatGPT Free, Pro and Plus users), neither the record nor the law
                                                                                                       supports requiring OpenAI to depart from long-standing privacy norms
                                                                                                       and retention practices. Nor are Plaintiffs’ other requests appropriate or
                                                                                                       proportionate to the needs of the case. As such, the Order should be
                                                                                                       vacated and Plaintiffs’ motion denied.
                                                                                                       Plaintiffs’ Position: This motion to compel addresses two issues relating
                                                                                                       to Microsoft.

                                                                                                       First, Plaintiffs request discovery into all versions of Microsoft’s
                                                                                                       “Copilot” product. Plaintiffs shortly before filing this motion learned that
                                                                                                       Microsoft has not been providing discovery into its current version of
                                                                                                       “Copilot”—which was launched October 1, 2024—on the ground that it
                                                                                                       is a new product that is not covered by the allegations in the
                                                                                                       Complaints. But the current version of Copilot has the same name as the
                                                                                                       Copilot product identified in the Complaints, uses the same OpenAI
                                                                                                       LLMs identified in the Complaints, and performs the same functionality
                                                                                                       as the Copilot referenced in the Complaints, including regurgitating
                             News Plaintiffs                                                           Plaintiffs’ copyrighted articles. Accordingly, Plaintiffs request that the
                             seek discovery                                                            Court grant Plaintiffs’ requested discovery into all versions of
                                                                                     The dispute is
                             into all versions                                                         Microsoft’s “Copilot” product, including: (1) updating its responses to
                                                                                     fully briefed
                             of Microsoft’s                                                            News Plaintiffs’ interrogatories to encompass information about the
            March                                                                    and the Court
Dkt. 487              508    “Copilot”           News Plaintiffs    Microsoft                          refreshed Copilot; (2) searching for and producing documents responsive
           31, 2025                                                                  has not yet
                             product and                                                               to News Plaintiffs’ requests for production that relate to the refreshed
                                                                                     heard
                             inspection of the                                                         Copilot, including producing documents that were withheld on the basis
                                                                                     argument
                             “Deucalion”                                                               that they relate to the refreshed Copilot; and (3) producing output log
                             LLM                                                                       data, source code, training data, and any models for the refreshed Copilot
                                                                                                       in response to News Plaintiffs’ requests for inspection.

                                                                                                       Second, Plaintiffs request access to inspect Microsoft’s “Deucalion”
                                                                                                       LLM, which is based off an OpenAI GPT model that Microsoft fine-
                                                                                                       tuned at OpenAI and commercially deployed in the Copilot product
                                                                                                       deprecated on October 1, 2024. Plaintiffs have already conducted such
                                                                                                       an inspection with respect to OpenAI’s commercially available LLMs,
                                                                                                       but Microsoft asserts that Plaintiffs should not be entitled access to
                                                                                                       inspect Deucalion because the model’s outputs were mediated through
                                                                                                       other layers of software. But irrespective of end user’s direct access to
                                                                                                       the model, the model itself is relevant to News Plaintiffs allegations
                                                                                                       concerning model memorization, including: (1) the model itself is
                                                                                10
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                                                                                         infringing and not transformative (e.g., because it encodes copies of the
                                                                                         asserted works), and (2) memorized (or regurgitated) outputs are further
                                                                                         evidence of the extent and nature of Defendants’ unauthorized use of
                                                                                         News Plaintiffs’ content during training and as part of Copilot’s outputs.

                                                                                         Microsoft’s Position: News Plaintiffs’ motion concerning two
                                                                                         unrelated discovery requests should be denied; indeed, the first was
                                                                                         already denied.

                                                                                         First, Microsoft’s Copilot-branded product released on October 1, 2024
                                                                                         (“New Copilot”) is a new product that did not exist when the Complaint
                                                                                         was filed, was built on an entirely different architecture, involves a
                                                                                         separate team, and would necessitate starting over in discovery, making
                                                                                         an already expansive case unmanageable. News Plaintiffs have known
                                                                                         about New Copilot since its launch, included a blog post about it in The
                                                                                         Times’s October 2024 request to expand the scope of discovery, which
                                                                                         the Court denied. See ECF 365 at 5. As the Court recognized during the
                                                                                         December 2024 hearing, if News Plaintiffs want discovery on New
                                                                                         Copilot, they can either file a new lawsuit or seek leave to amend under
                                                                                         Rules 15 and 16. Adding New Copilot to this case would dramatically
                                                                                         increase the scope of discovery, entailing a new set of source code,
                                                                                         business documents, technology documents, and ESI from an entirely
                                                                                         different set of custodians. The renewed request for discovery into New
                                                                                         Copilot should be denied.

                                                                                         Second, News Plaintiffs’ demand to test a bare model called Deucalion
                                                                                         is disproportionate to the needs of the case and should be denied.
                                                                                         Deucalion is a fine-tuned version of GPT3.5 Turbo never made
                                                                                         available to the public in the form in which News Plaintiffs seek to test
                                                                                         it. There were and are myriad other options for News Plaintiffs to obtain
                                                                                         relevant information about the model, including that they (1) had freely
                                                                                         available access to Copilot while the Deucalion model was in operation
                                                                                         throughout most of 2024, (2) have inspected the GPT3.5 Turbo model’s
                                                                                         training data, and (3) have the ability to sample user output data to
                                                                                         understand actual consumer uses of the Deucalion model in operation.
                                                                                         News Plaintiffs equate their request to inspect Deucalion to the
                                                                                         inspection of OpenAI’s models, but this is misleading. The models
                                                                                         OpenAI provided for inspection were publicly available in the form
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                                                                                                               inspected, which is not what is sought here. Rather, Plaintiffs seek to
                                                                                                               force Microsoft to provide Deucalion without the metaprompts, filters,
                                                                                                               and output mitigations that were all part of Copilot’s safety features.
                                                                                                               Worse, providing the bare model would enable News Plaintiffs to
                                                                                                               radically distort the model’s behavior through adversarial prompting,
                                                                                                               causing significant prejudice. Adversarial prompting of models has
                                                                                                               already been an issue in these proceedings, and the issue should not be
                                                                                                               compounded further.


                                                                                             Resolved.         Parties’ Joint Statement: The Parties have met and conferred, and no
                                                                                                               further action is required from the Court at this time.
                                                                                             The Court
                                                                                             heard
                                                                                                               As explained in ECF 462, the parties met and conferred regarding
                                                                                             argument on
                                                                                                               proposed datasets and threshold values for the proposed “N-Gram
 305 1       11/1/24       305                                                               December 3,
                                    OpenAI’s                                                                   Search” of OpenAI training data. A dispute arose over OpenAI's
                                                         News Plaintiffs       OpenAI        2024, and on
                                    Training Data                                                              implementation of Plaintiffs' proposed search parameters, but the parties
                                                                                             January 22,
  328        11/20/24      345                                                                                 have resolved that dispute. OpenAI will now attempt to run an agreed N-
                                                                                             2025. The
                                                                                                               gram search on an identified set of training datasets and produce the
                                                                                             parties
                                                                                                               results. If OpenAI encounters technical difficulties, it will raise them with
                                                                                             subsequently
                                                                                                               Plaintiffs for further meet-and-confer discussions.
                                                                                             resolved the
                                                                                             issue.
   IV.        Disputes Related to OpenAI’s Document Productions
                                    The Times seeks                                          The Times         Plaintiffs’ Position: The Times on March 31 renewed its January 13,
                                    to compel                                                filed a similar   2025 request for an order requiring OpenAI to produce discrete financial
                                    OpenAI to                                                motion in         documents and investor materials. The Times has substantially narrowed
                                    produce discrete                                         advance of the    its request, consistent with this Court’s instruction “to think about
                                    financial                                                January 22,       whether there are particular investments or transactions or particular
                                    documents and                                            2025              presentations or other documents . . . that you might want to ask OpenAI
              March
Dkt. 489                   507      investor                  NYT              OpenAI        conference        to focus on” and to “try to address OpenAI’s concern about the request
             31, 2025
                                    materials                                                (Dkt. 398).       being overbroad.” Jan. 22, 2025 Hearing Tr. at 87:12-22. The Court
                                    concerning                                               Following         should now adopt The Times’s compromise proposal, for OpenAI to
                                    OpenAI’s                                                 argument, the     produce: (1) documents reflecting internal evaluations of its anticipated
                                    valuation and                                            Court ordered     profits and OpenAI’s valuation, and (2) documents provided to the
                                    anticipated                                              the parties to    following OpenAI investors that discuss OpenAI’s anticipated profits
                                    profits                                                  continue to

   1
       Unless otherwise indicated, all docket numbers are from New York Times Company v. Microsoft Corp., et al., Case No. 1:23-cv-11195-SHS.
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                                                                         meet and          and valuation: Microsoft, MGX, Thrive Capital, Softbank, and Tiger
                                                                         confer. Dkt.      Global.
                                                                         441. The
                                                                         Times has
                                                                                           This compromise proposal targets information The Times has not
                                                                         now renewed
                                                                                           otherwise received. This discovery is also highly relevant, for at least four
                                                                         its motion.
                                                                                           issues: (i) the first fair use factor—the purpose and character of the use,
                                                                                           (ii) OpenAI’s ability to pay for copyrighted content, (iii) willfulness and
                                                                                           motive, and (iv) damages. For example, as for fair use factor one, “[t]he
                                                                                           greater the private economic rewards reaped by the secondary user (to
                                                                                           the exclusion of broader public benefits), the more likely the first factor
                                                                                           will favor the copyright holder and the less likely the use will be
                                                                                           considered fair.” Am. Geophysical Union v. Texaco Inc., 60 F.3d 913,
                                                                                           922 (2d Cir. 1994). Yet OpenAI refuses to provide basic discovery into
                                                                                           “the private economic rewards” that it anticipates “reap[ing]” for itself
                                                                                           and its employees, thus preventing The Times (and the Court) from
                                                                                           balancing those “private economic rewards” against the alleged “public
                                                                                           benefits” that OpenAI touts. Texaco, 60 F.3d at 922. OpenAI below
                                                                                           incorrectly suggests The Times has not cited any cases ordering such
                                                                                           discovery in a copyright case. E.g., Daily Palm, LLC v. Bird Rides, Inc.,
                                                                                           2021 WL 6496853, at *1 (C.D. Cal. Oct. 18, 2021).

                                                                                           Finally, the burden to OpenAI is minimal. For category (1) OpenAI has
                                                                                           admitted these documents are “discrete” and has therefore not even raised
                                                                                           any burden argument. And for category (2), OpenAI has already located
                                                                                           the “data rooms” it used to share documents with most of these investors,
                                                                                           meaning that OpenAI already knows exactly where to find the responsive
                                                                                           materials.

                                                                                           OpenAI’s Position: The Times seeks to compel OpenAI to produce
                                                                                           financial projections, valuations, and documents discussing financial
                                                                                           information, which courts have consistently held are not discoverable in
                                                                                           copyright actions. See In re ChatGPT, Case No. 23-cv-03223-AMO, Dkt.
                                                                                           247 at 2 (N.D. Cal. Jan. 13, 2025); Phoenix Techs., Ltd. v. Vmware, Inc.,
                                                                                           2016 WL 5725044, at *2 (N.D. Cal. Sept. 30, 2016); Bluewater Music
                                                                                           Servs. Corp. v. Spotify USA Inc., 2018 WL 10152456, at *7 (M.D. Tenn.
                                                                                           July 10, 2018); Kaseberg v. Conaco, LLC, 2016 WL 3997600, at *7–8
                                                                                           (S.D. Cal. July 26, 2016).


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                                                                                                Indeed, The Times cannot identify a single case compelling the scope of
                                                                                                production they presently demand. The only case they cite concerning
                                                                                                discovery in a copyright action (Daily Palm, LLC v. Bird Rides, Inc.)
                                                                                                addressed the purely legal question of what damages a copyright plaintiff
                                                                                                could seek as a matter of law—not the arguments OpenAI has raised here.
                                                                                                And, even then, the court ordered far more limited discovery than The
                                                                                                Times requests. OpenAI has repeatedly offered to meet and confer about
                                                                                                conducting additional reasonable searches for documents relating to
                                                                                                relevant, substantive issues that aren’t addressed by OpenAI’s existing
                                                                                                offers to produce, but The Times has flatly ignored those offers.

                                                                                                Plaintiffs' relevance arguments are flimsy, at best. OpenAI’s overall
                                                                                                financial projections and valuation are not relevant to fair use factor one
                                                                                                because “[t]he question under [fair use] factor one is the purpose and
                                                                                                character of the use, not of the alleged infringer.” Byrne v. British Broad.
                                                                                                Corp., 132 F. Supp. 2d 229, 234 (S.D.N.Y. 2001) (Stein, J.). Regarding
                                                                                                "ability to pay," OpenAI has already produced its audited financial
                                                                                                statements, and The Times cites no authority showing “ability to pay” is
                                                                                                relevant. Nor are the requested documents relevant to willfulness, given
                                                                                                that “one’s motive to infringe does not bear on the willful nature of his
                                                                                                infringement.” Compaq Computer Corp. v. Ergonome Inc., 2001 WL
                                                                                                34104827, at *1 (S.D. Tex. June 27, 2001). Projections/valuations also
                                                                                                are not relevant to damages, as the orders cited above show. Even if that
                                                                                                information might be relevant, The Times cannot explain how they would
                                                                                                use it to calculate damages, which courts have consistently held should
                                                                                                doom the request. See, e.g., Structured Asset Sales, LLC v. Sheeran, 433
                                                                                                F. Supp. 3d 608, 612 (S.D.N.Y. 2020).

                                                                                                The Times’ assertion of minimal burden is unfounded. OpenAI has cited
                                                                                                several cases establishing that The Times' requests are disproportionate.
                                                                                                The Times cites nothing to the contrary.


                             The Times’s                                      The Court         Plaintiff’s position: The Times maintains its request for an order
  322-                       RFP 2                                            heard             requiring OpenAI to identify any relevant domestic proceedings in which
 Sealed                      (documents                                       argument on       it has produced documents related to the issues in this case.
           11/19/24   339                       NYT          OpenAI
  323-                       OpenAI has                                       this motion at
 Public                      submitted to                                     the January       The Court should now adopt The Times’s compromise proposal, as
                             domestic                                         22, 2025          reflected in the February 13 chart. Dkt. 462. As a first step, OpenAI
                                                                         14
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                          governmental                                           conference,       should produce any interrogatory responses or responses to written
                          entities relating                                      and ordered       questions that OpenAI submitted for the Delaware Attorney General’s
                          to the allegations                                     the parties to    investigation into OpenAI’s planned transition to a for-profit company.
                          in the                                                 meet-and-         https://www.reuters.com/technology/artificial-intelligence/openais-
                          Complaint)                                             confer and to     altman-says-musk-offer-is-tactic-to-try-mess-with-us-2025-02-11/. The
                                                                                 provide           Times is targeting this investigation because it addressed whether “the
                                                                                 a status update   company is ‘adhering to its specific charitable purposes for the benefit of
                                                                                 in the            the public beneficiaries, as opposed to the commercial or private interests
                                                                                 February 13       of OpenAI’s directors or partners.’” Id. According to public reports,
                                                                                 chart (Dkt.       OpenAI abandoned its for-profit formal conversion plan based on
                                                                                 462)              “discussions”      with       the    Delaware      Attorney       General.
                                                                                                   https://www.wsj.com/tech/ai/openai-to-become-public-benefit-
                                                                                                   corporation-9e7896e0?st=hFrWMK.

                                                                                                   The requested documents are therefore relevant to fair use factor one,
                                                                                                   particularly insofar as they reveal the extent to which OpenAI is
                                                                                                   prioritizing commercialization. Indeed, commercialization is not a binary
                                                                                                   proposition. “The greater the private economic rewards reaped by the
                                                                                                   secondary user (to the exclusion of broader public benefits), the more
                                                                                                   likely the first factor will favor the copyright holder and the less likely
                                                                                                   the use will be considered fair.” Am. Geophysical Union v. Texaco Inc.,
                                                                                                   60 F.3d 913, 922 (2d Cir. 1994). This discovery will shed light on
                                                                                                   whether OpenAI is prioritizing “private economic rewards” over
                                                                                                   “broader public benefits.” Id. Tellingly, OpenAI below does not claim it
                                                                                                   would be burdensome to comply with The Times’s request, which again
                                                                                                   focuses on just one highly relevant proceeding and on information The
                                                                                                   Times has not otherwise received.

                                                                                                   OpenAI’s Position: The Court previously rejected The Times’s motion
                                                                                                   to compel with regard to documents submitted to foreign regulators (ECF
                                                                                                   398), and it should deny this parallel motion as well.

                                                                                                   The Times has issued 155 RFPs in this matter, which is 25 more RFPs
                                                                                                   than had been issued when the Court last heard argument on this motion
                                                                                                   in January. The pending RFPs canvass all conceivably relevant topics.
                                                                                                   As relevant here, The Times has also requested all documents submitted
                                                                                                   to domestic governmental entities, without regard to whether those
                                                                                                   materials have been produced in response to other RFPs or relate to
                                                                                                   substantive meet-and-confer efforts. At the January hearing, the Court
                                                                            15
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                                                                                                          encouraged The Times to focus its discovery requests on “underlying
                                                                                                          information . . . relevant to the case,” not on materials that might have
                                                                                                          been deemed relevant in some separate context. (Transcript, Jan. 22,
                                                                                                          2025, at 75:1-5). Indeed, with regard to alleged “commercial nature” of
                                                                                                          OpenAI’s business, The Times has already issued an RFP focused on
                                                                                                          precisely that issue. See RFP 11. That RFP has been the subject of motion
                                                                                                          practice and extensive meet-and-confer discussions. The Times should
                                                                                                          not be permitted to end-run around those negotiations simply by pointing
                                                                                                          to public reporting of a state regulator’s entirely distinct inquiry. The
                                                                                                          Times is engaged in a fishing expedition, and its motion to compel should
                                                                                                          be denied.

                                                                                                          The Times’s suggestion that it is offering a narrowed resolution to this
                                                                                                          RFP is false. It has clarified in meet-and-confer discussions that it expects
                                                                                                          OpenAI to canvas other, unidentified regulatory engagements for
                                                                                                          potentially relevant materials. Instead of casting about for materials
                                                                                                          potentially deemed relevant in other contexts, The Times should, as this
                                                                                                          Court directed, focus on “underlying information . . . relevant to the
                                                                                                          case.” (Transcript, Jan. 22, 2025, at 75:1-5).

   V.      Updates for Previously Briefed & Argued Disputes Between News Plaintiffs and Microsoft

                                                                                        The Court         Plaintiffs’ position: On February 10, 2025, technical experts for The
                                                                                        heard             Times and Daily News Plaintiffs attended an informal discussion with
                                                                                        argument at       Microsoft’s outside consultants. No Microsoft employees attended the
                                                                                        the January       discussion, and because Microsoft’s outside consultants’ knowledge of
                                                                                        22, 2025          Microsoft’s log data was limited to the same materials produced to
                                                                                        conference,       Plaintiffs, the outside consultants could not answer many of the questions
                                                                                        and ordered       raised during the discussion and previously outlined Plaintiffs’ letter
                                Microsoft’s Log                                         the Parties to    correspondence. On February 12, The Times and Daily News Plaintiffs
  311      11/18/24    338                         News Plaintiffs     Microsoft        meet and          sent a letter to Microsoft to follow up on items that the consultants were
                                Output Data
                                                                                        confer and to     not able to answer during the informal discussion and to propose a
                                                                                        provide           sampling methodology, and requested responses by February 17.
                                                                                                          Microsoft responded to that letter on April 25, 2025, answering some of
                                                                                        a status update
                                                                                                          News Plaintiffs’ questions but stating that they are still investigating the
                                                                                        in the
                                                                                                          feasibility and burden of our sampling methodology. News Plaintiffs will
                                                                                        February 13
                                                                                                          continue to meet and confer with Microsoft on discovery into the log data
                                                                                        chart (Dkt.
                                                                                                          but request that the Court order a date certain by which: (1) the Parties
                                                                                        462).
                                                                                                          complete their meet and confer as to sampling methodologies of the log

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                                                                                                data, and (2) Microsoft produces the log data according to the agreed
                                                                                                upon (or Court ordered) sampling methodologies.

                                                                                                Microsoft’s Position: Plaintiffs’ initial motion was denied in ECF 365.
                                                                                                Since that time, the parties have been working together in good faith to
                                                                                                address these issues. The parties held an initial extensive meet and confer
                                                                                                session. Microsoft disagrees that its experts were unprepared for that
                                                                                                session. Rather, Plaintiffs spent nearly half of the time asking questions
                                                                                                that were not in the scope of topics sent in advance of the meeting.

                                                                                                Microsoft responded to Plaintiffs’ February 12 letter, providing answers
                                                                                                to 14 of Plaintiffs’ 15 questions. At the same time, Microsoft has also
                                                                                                been working on streamlining the process by creating faster and more
                                                                                                efficient means of accessing the data, both in order to answer Plaintiffs’
                                                                                                questions and in support of the ultimate project of sampling the data.

                                                                                                After the MDL is organized so that all data matters can be addressed on
                                                                                                a uniform basis, the parties should have another informal conversation
                                                                                                about log data. The log data is stored in an unstructured format and
                                                                                                therefore reporting scripts must be run on data to create samples. This
                                                                                                process has proven quite challenging as has the overall effort to
                                                                                                understand the data. A further meet and confer session will be productive
                                                                                                in enabling Plaintiffs to formulate their sampling strategy. After that,
                                                                                                sampling efforts are likely to require testing and iteration before any
                                                                                                approach can be confirmed. There is no need for deadlines regarding the
                                                                                                ongoing process of addressing log data to be set at this time.




                                                                              The Court         Plaintiff’s position: The Times has substantially narrowed its request for
                                                                              heard             licensing negotiation documents for deals that were never executed,
                            The Times’s                                                         which The Times has been seeking since January. Because Microsoft has
                            RFPs 61                                           argument on
                                                                              this motion at    still not committed to producing any such documents, The Times
                            (documents                                                          respectfully asks the Court to adopt its compromise proposal,
  396      1/13/25   407                        NYT          Microsoft        the January
                            concerning                                                          summarized below.
                            licensing                                         22, 2025
                            negotiations)                                     conference,
                                                                              and ordered       These requested documents and communications are relevant to The
                                                                              the parties to    Times’s allegation that there is a market for the at-issue data. FAC ¶ 155;
                                                                         17
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                                                                         meet-and-         see A&M Recs., Inc. v. Napster, Inc., 239 F.3d 1004, 1016 (9th Cir. 2001)
                                                                         confer and to     (“Fair use, when properly applied, is limited to copying by others which
                                                                         provide           does not materially impair the marketability of the work which is copied.”
                                                                         a status update   (quoting Harper & Row Publishers, Inc. v. Nation Enters., 471 U.S. 539,
                                                                         in the            566-67 (1985)). For example, if communications show that Microsoft
                                                                         February 13       was willing to pay a news organization a certain amount of money to use
                                                                         chart (Dkt.       their content for Microsoft Copilot, that admission would be relevant to
                                                                         462)              assessing the market for news data, even if that deal never materialized.

                                                                                           At the January 22 hearing, this Court instructed The Times to “narrow
                                                                                           the scope of [the request] to what the market might be in the News cases,”
                                                                                           Jan. 22, 2025 Tr. at 103:7-9, and to meet and confer and file a
                                                                                           supplemental letter about the status of the parties’ negotiations. Dkt. 441.
                                                                                           Consistent with that guidance, The Times has narrowed its request to
                                                                                           documents and communications regarding licensing negotiations that did
                                                                                           not result in an executed agreement, but limited to (1) Journalism content
                                                                                           providers, as the parties have agreed to define that term to resolve other
                                                                                           RFPs, and (2) negotiations that moved far enough along where a party
                                                                                           prepared a term sheet. The Times has also agreed to narrow the scope of
                                                                                           the models and products for this RFP to those the parties have already
                                                                                           agreed to be in scope for discovery. The one exception is “refreshed”
                                                                                           Copilot. As summarized, Dkt. 487, Plaintiffs contend that “refreshed”
                                                                                           Copilot should be subject to discovery, and the Court’s ruling on that
                                                                                           dispute should inform whether Microsoft produces licensing negotiation
                                                                                           documents related to “refreshed” Copilot.

                                                                                           Microsoft’s Position: Plaintiffs’ initial motion was denied in ECF 441,
                                                                                           but the parties have continued to meet and confer. As an initial matter,
                                                                                           The Times’s apparent introduction of “all versions” of Copilot, which
                                                                                           Microsoft takes to refer to the newer product that is the subject of the
                                                                                           briefs at ECF 487 and 508, is a step backward, as it expands the scope of
                                                                                           the request when the parties are trying to narrow and get to agreement.
                                                                                           Indeed, Microsoft asked in the parties’ most recent written
                                                                                           correspondence on this issue, on March 31, to confirm that The Times’s
                                                                                           current proposal was “still limited to the models and products at issue in
                                                                                           the case (setting aside, ... our dispute about what products are subject to
                                                                                           discovery, as set out in your motion filed today).” The Times never
                                                                                           responded; it appears the answer is no.


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                                                                                         As Microsoft has communicated to The Times, Microsoft will be
                                                                                         producing additional documents in response to this RFP beyond what is
                                                                                         set out in Microsoft’s served written response. Microsoft is continuing to
                                                                                         evaluate the scope of those additional documents and whether such
                                                                                         documents would be responsive to the scope articulated in The Times’s
                                                                                         previous proposal. Since The Times expanded its request to include “all
                                                                                         versions” of Copilot, Microsoft needed to restart some aspects of its
                                                                                         evaluation of that request. For all these reasons, the parties should
                                                                                         continue to meet and confer, and no relief is warranted at this time.




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